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    AO 91 (Rev. 02/09) Criminal Complaint




                         United States District Court
                                                                              for the
                                                                   Western District of New York



                                      United States of America

                                                                                                      Case No.23-inj- 168


                                         Michael Roncone

                                                   Defendant




                                                                     CRIMINAL COMPLAINT



                  I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

O                 On or about the date of December 7, 2023, in the County of Erie, in the Western District of New York, the
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                  This Criminal(Complaint is based on these facts: IA                                                                 Celt,   ,
                  ^ Continued on the attached sheet.



                                                                                                          Complainant's signature

                                                                                        THOMAS V. WEIS
                                                                                        SPECIAL AGENT
                                                                                        Federal Bureau ofInvestigation
                                                                                                          Printed name and title




    Sworn to before me and signed in my presence.


    Date:          December 7. 2023
                                                                                                               Judge's signature ^


                                                                                        HONORABLE H. KENNETH SCHROEDER,JR.
    City and State: Buffalo. New York                                                   TTNTTED STATES MAGISTRATE.TUDGE
                                                                                                            Printed name and title
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              AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT




STATE OF NEW YORK )
COUNTY OF ERIE    )                SS:
CITY OF BUFFALO   )



       I, THOMAS WEIS, being duly swom, depose and state:

                  AGENT BACKGROUND AND INTRODUCTION


I, Thomas Y. Weis, Special Agent of the Federal Bureau of Investigation, United States

Department of Justice, having been duly sworn, states as follows:


       1.     I am a Special Agent with the Federal Bureau ofInvestigation ("FBI"), United
States Department of Justice. As such, I am an "investigative or law enforcement officer of
the United States" within the meaning of Title 18, United States Code, Section 2510(7), that

is, an officer of the United States who is empowered by law to conduct investigations of and
to make arrests for offenses enumerated in Title 18, United States Code, Section 2516.



       2.     I have served as an FBI Special Agent since March of 2017. During that time,

I have participated in investigations involving drug trafficking and organized crime matters.
In addition, I have had the opportunity to work with several other FBI agents and other law
enforcement agents and officers of varying experience levels, who have also investigated
obstruction of justice matters and drug trafficking networks, with regard to the manner in
which controlled substances are obtained, diluted, packaged, distributed, sold and used within

the framework of drug trafficking in the Westem District of New York. As a result of my
experience, I am familiar with how controlled substances are obtained, diluted, packaged.
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distributed, sold, and used in the framework ofdrug trafficking in the Western District ofNew

York and how drug traffickers utilize wire communications to facilitate their illegal activities.

Further, I am familiar with how individuals utilize wire communications to facilitate the

sharing of information, including Law Enforcement activity and/or potential investigations
into illegal activities. My investigative experience detailed herein, and the experiences of
other law enforcement agents, who are participating in this investigation, serve as the basis

for the opinions and conclusions set forth herein.



       3.      I have personally participated in the investigation set forth below. I am familiar
with the facts and circumstances of the investigation through my personal participation,

discussions with other agents ofthe FBI, HSI, and other law enforcement officials, interviews

of witnesses, and my review of relevant records and reports. Unless otherwise noted,
wherever in this affidavit I assert that a statement was made, the information was provided
by an FBI agent, law enforcement officer, or witness who had either direct or hearsay
knowledge of that statement, to whom I or others have spoken or whose reports I have read
and reviewed. Such statements are among statements made by others and are stated in
substance and in part unless otherwise indicated. Any interpretations or opinions rendered
in this affidavit are based on my training and experience, and upon my consultation with
other experienced investigators, in the context ofthe facts ofthis investigation.


        4.     I have set forth only the facts that I believe are necessary to establish probable
cause that:
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            a. MICHAEL RONCONE("RONCONE") has committed violations of Title

                 18, United States Code, 922(g)(3)(unlawful user of a controlled substance in

                 possession of a furearm).



       5.        This affidavit is provided for the limited purpose ofestablishing probable cause

to support the attached complaint and therefore does not contain each and every detail ofthe
investigation.

                                      PROBABLE CAUSE


       6.        On December 5, 2023, the FBI obtained a federal search warrant (the

"Warrant") authorizing the search of 4998 William Street, Lancaster, NY 14086
("RONCONE'S HOME"), and the Rare Breed Motorcycle Club's clubhouse ("RBMC
CLUBHOUSE")in Wellsville, NY.


       7.        RONCONE is the president ofthe Rare Breed Motorcycle Club,a support club

of the Outlaws Motorcycle Club, an intemational criminal organization. The Outlaws MC
have maintained a presence in the Buffalo, New York area unabated, and have been the
dominant 1% biker club in the region.



       8.        In executing the Warrant on December 7,2023, FBI agents discovered, among
other evidence of criminal activity, evidence that RONCONE is an unlawful user of
controlled substances in possession of a firearm in violation of 18 U.S.C.§ 922(g)(3).

       9.        Across the two premises, FBI agents discovered cocaine, marijuana, drug
paraphernalia, and approximately twenty-nine furearms. In RONCONE'S HOME, for
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instance, FBI found multiple firearms in a safe containing marijuana. Elsewhere in the

residence, agents discovered cocaine and cocaine paraphernalia as pictured below.




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       10.   At the RBMC's Wellsville Clubhouse, agents discovered marijuana and

fuearms in a recreational vehicle containing RONCONE'S identification, as pictured below:
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       11.     Among the firearms recovered from the RBMC Wellsville Clubhouse was an

SKS Rifle, pictured above, bearing serial number 1803870.



       12.    On December 7, 2023, Special Agent WiUiam Famham, a certified Firearms

Interstate Nexus Expert with the Bureau of Alcohol, Tobacco, Firearms, and Explosives

(ATE),was consulted and provided an interstate nexus determination ofthe above-mentioned

firearm, found at the RBMC Wellsville Clubhouse, as well as the firearms recovered from

RONCONE'S HOME. SA Famham determined, based upon his personal knowledge,

experience, and research, that fuearms seized from both premises, including the SKS Rifle,

were manufactured outside ofthe State ofNew York and would have traveled in and affected

interstate commerce prior to their recovery in the State of New York.



       13.    Based on the foregoing—specifically, the firearms seized from RONCONE'S

home and the RBMC Wellsville Clubhouse and the cocaine and marijuana seized from

RONCONE'S home and the RBMC Wellsville Clubhouse—there is probable cause to

believe that RONCONE committed violations of Title 18, United States Code, 922(g)(3)

(unlawful user of a controlled substance in possession of a firearm).
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                                   CONCLUSION


      WHEREFORE,based upon the foregoing, I respectfully submit that there is probable

cause to believe that MICHAEL RONCONE have committed violations ofthe Enumerated

Offense.




                                        THOMAS V. WEIS
                                        Special Agent
                                        Federal Bureau ofInvestigation


Sworn to and subscribed telephonicaUy
this 7th day of December, 2023.



HONORABLE H. KENNETH SCll£oEDER,JR.
United States Magistrate Judge
